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Case 2:07-md-01873-KDE-ALC Document 14140-1 Filed 05/21/10 Page 1 of 2

AO 440 (Rev. 02/09) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Rubin Filmore

)
Plaintiff
v. ) Civil Action No, 09-6166
Crum & Forster Specialty Ins. Co., et al ;
Defendant )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address} United States of America, Dept. of Justice,
through Eric Holder, U.S, Attorney
950 Pennsylvania Ave. NW
Washington DC 20530-0001

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 {a}(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Justin |. Woods

Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C.
2800 Energy Centre, 1100 Poydras St.
New Orleans, LA 70163-2800

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Date: May 21 2010

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AO 440 (Rev, 02/09) Summons in a Civil Action (Page 2)

Civil Action No. 09-6166

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

O I personally served the summons on the individual at (place)

on (date) ;or

0 1 left the summons at the individual's residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

© J served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3o0r
© [retumed the summons unexecuted because ; or
O Other (specify:
My fees are $ for travel and $ for services, for a total of $ 0.00
| declare under penalty of perjury that this information is true.
Date:
Server's signature
Printed name and title
Server's address

Additional information regarding attempted service, etc:
Case 2:07-m
:07-md-01873-KD
E-M
BN Document 14457 Filed 06/22/1
O Page 3 of
3

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Justin I. Woods, Esq

Gainsburgh jami
ri ee David, Meunier & W
os ee Street, Suite 2800 0
rleans, Louisiana 70163

Formal a
aldehyde: 09-6166, Rubin Filmore

Pete) ila ete bpeit) Rien iene fafa ae

A. Signature

x

a Complete items 4,2, and 5. Also complete
item 4 If Restricted Delivery !s desired.
mw Print your name and address on the reverse

so that we can return the ca 0 you.
m Attach this card to the pack of the mailpiece,
or on the front if space permits.

4. Article Addressed to:
Eric Holder, U. S. Attorney General
US. Department of Justice

950 Pennsylvania Avenue,
Washington, DC 20530-0001

ecelved by ( Printed Name)

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ps Form 3811, February 2004 Domestic Return Receipt

